
		
				STATE v. RUTLEDGE2022 OK CR 7509 P.3d 72Case Number: S-2021-472Decided: 04/14/2022THE STATE OF OKLAHOMA, Appellant v. ROBERT WILLIAM RUTLEDGE, Appellee.
Cite as: 2022 OK CR 7, 509 P.3d 72

				

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ORDER GRANTING APPLICATION FOR PUBLICATION



¶1 On February 17, 2022, an opinion was handed down in the above-styled proceeding. State v. Rutledge, S-2021-472 (February 17, 2022)(unpublished). The opinion construed portions of 21 O.S.Supp.2019, § 644(I). On February 28, 2022, the State of Oklahoma, by and through Angela Marsee, Custer County District Attorney, filed a motion for publication in the above-referenced matter. The Court GRANTS the State's request for publication.

¶2 IT IS THEREFORE THE ORDER OF THIS COURT that the Summary Opinion filed on February 17, 2022, is hereby AUTHORIZED FOR PUBLICATION. The unpublished opinion is withdrawn and substituted with 2022 OK CR 8, State v. Rutledge.

¶3 IT IS SO ORDERED.

¶4 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 14th day of April, 2022.

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/S/SCOTT ROWLAND, Presiding Judge

/S/ROBERT L. HUDSON, Vice Presiding Judge

/S/GARY L. LUMPKIN, Judge

/S/DAVID B. LEWIS, Judge

/S/WILLIAM J. MUSSEMAN, Judge 


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ATTEST:

/s/John D. Hadden
Clerk


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